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                         UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF VIRGINIA
                              ROANOKE DIVISION

 UNITED STATES OF AMERICA,                      )
                                                )
 v.                                             )       Case Nos.:     7:19-mj-00081
                                                )
 AMINEE JEWEL DAVENPORT                         )
                                                )
        Defendant.

              MOTION TO MODIFY PRETRIAL RELEASE CONDITIONS

        COMES NOW the defendant, Aminee Jewel Davenport, by counsel, and moves

 this Court for an Order pursuant to 18 U.S.C. § 3161 (h)(7)(A) continuing this matter

 from April 7, 2021, to a mutually agreeable date set by the Court and states the following

 in support of this request:

        (1)     Defendant is charged with several counts of conspiracy and possession

 with intent to distribute a schedule I/II substance.

        (2)     A jury trial is scheduled for April 7, 2021.

        (3)     Counsel for defendant needs additional time to adequately prepare this

 case for trial. Discovery is voluminous, ongoing, and counsel needs additional time to

 review with defendant prior to the trial in this matter. Counsel for defendant and the

 United States also need additional time for plea negotiations. Defendant agrees to waive

 the protections afforded her under the Speedy Trial Act.

        (4)     This requested continuance is warranted under 18 U.S.C. § 3161(h)(7)(A)

 to meet the ends of justice as the defendant’s interest in additional time to prepare

 outweighs her and the public’s interest in a speedy trial and denial of this request would

 deprive the defendant of the reasonable time needed to prepare for trial. Defendant agrees
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 the delay attributable to this request for this continuance shall be excluded in computing

 the time within which the trial must commence under the Speedy Trial Act.

        (5)     The United States has been consulted and has no objection to this Motion

 for Continuance based on the above referenced grounds and the ends of justice.

        WHEREFORE, defendant, by counsel, respectfully request this court grant this

 Motion for Continuance of the trial in this matter.

                                               Respectfully submitted,

                                               AMINEE JEWEL DAVENPORT

                                               /s/ Robert E. Dean
                                               ______________________________
                                               By Counsel
 Robert E. Dean, Esq. (VSB No. 80288)
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 Counsel for the Defendant
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                             CERTIFICATE OF SERVICE

         I hereby certify that on the 23rd day of March, 2021, the foregoing was filed
 electronically and notice sent to the following parties by operation of the Court’s
 electronic filing system:

                       Kari Munro, Esq.
                       United States Attorneys Office
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                       Counsel for the United States


                                                       /s/ Robert E. Dean
                                                       ______________________________
